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 1   JOHN R. MANNING
     Attorney at Law
 2   Ca. St. Bar No. 220874
     1111 H Street, Suite 204
 3   Sacramento, CA 95814
     Telephone: (916) 444-3994
 4   jmanninglaw@yahoo.com

 5   Attorneys for Defendant
     RONALD REEVES
 6

 7
               IN THE UNITED STATES MAGISTRATE COURT FOR THE
 8
                        EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES GOVERNMENT,     )        2:11 CR 365 GEB
11                                 )
               Plaintiff,          )
12                                 )        STIPULATION AND
          v.                       )        ORDER MODIFYING CONDITIONS OF
13                                 )        RELEASE
     RONALD REEVES,                )
14                                 )
               Defendant.          )
15   ______________________________)

16
          Ronald Reeves, by and through his attorney, John R.
17
     Manning, Esq., and the United States of America, by and through
18
     its’ counsel, Daniel S. McConkie, Jr., Esq., and Pretrial
19
     Services Officer Steven Sheehan, hereby jointly agree and
20
     stipulate to amend defendant’s conditions of release as follows:
21
          1. Mr. Reeves shall not be required to appear in Court,
22
            before a Magistrate Judge, upon completion of his 90 day
23
            inpatient drug treatment at "The Effort."         Mr. Reeves
24
            shall be allowed to transfer into a clean and sober,
25
            transitional living, residence approved by Pretrial
26
            Services.    Should Mr. Reeves request to leave the clean
27
            and sober/transitional living program, Pretrial Services
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 1
            will place the matter on the calendar before the Court.
 2
          2. Mr. Reeves shall comply with testing and outpatient
 3
            counseling as directed by Pretrial Services.
 4
          3. Mr. Reeves shall remain subject to all terms and
 5
            conditions of release previously imposed by the Court.
 6
          Accordingly, all parties and Mr. Reeves agree with the
 7   proposed

 8   modifications articulated herein.

 9
     Dated: January 13, 2012                Respectfully submitted,
10

11                                           s/John R. Manning
                                            John R. Manning
12                                          Attorney for Defendant
                                            Ronald Reeves
13

14   Dated: January 13, 2012                Benjamin B. Wagner
                                            United States Attorney
15
                                      by:   /s/ Daniel S. McConkie, Jr.
16
                                            Daniel S. McConkie, Jr.
17                                          Assistant U.S. Attorney

18   IT IS SO ORDERED.

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     Dated: January 13, 2012
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